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                        EXHIBIT H
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                            SETTLEMENT AGREEMENT AND RELEASE

      This Settlement Agreement and Release (hereinafter referred to as the               “Agreement”)
                                                                                             is
made effective on the date of final execution below between and among SRIHARI
GOVINDARAJAN, an individual, MANJULA DASYAM, an individual, and RAMDHAN
YADAV KOTAMARAJA, an individual ANANDA BABU DASARI, and individual, and
NOVEDEA SYSTEMS, INC., a             corporation,
                                        hereinafter collectively referred to as the “Parties.”


          WHEREAS, RAMDHAN YADAV KOTAMARAJA and ANANDA BABU DASARI
               Original Petition, Request for Injunctive Relicl, and Request for Disclosures
 fled Plaintiffs’
againstSRIHARI GOVINDARAJAN captioned as Ramadhan Yadav Kotamarajia and ANANDA
Babu Dasari v. Intetlisee Group, Ine. Srihari Govindarajan, Suresh Rajappa, currently pending
in the    Judicial District Court of Dallas County, Texas as cause number DC-12-00995
(hereinafter “Lawsuit”):
       WHEREAS, disagreements exist between the Parties regarding various claims asserted in
the Lawsuit and each Party contests and denies claims asserted by the other Party in the Lawsuit
however, the Partics desire to resolve and settle all potential claims or claims asserted or that
could be asserted by any named party in the Lawsuit without any admission of liability or fault.

          NOW THEREFORE, the Parties hereto agree and             represent as follows:

     1. Dismissal of Lawsuit __und Temporary Injunction. RAMDHAN YADAY
KOTAMARAJA and ANANDA BABU DASARI shall file a dismissal with prejudice against
SRIHARI GOVINDARAJAN of their claims in the Lawsuit and request for temporary
injunction (captioned as Ramadhan Yadav Kotamaraja and ANANDA Babu Dasari y. Intellisee
Group., Ine. Srihari Govindarajan, Suresh Rajappa, currently pending in the 68™ Judicial
Iistrict Court of Dallas County, Texas as cause number DC-12-00995).

    2, Release by RAMDHAN YADAV KOTAMARAJA, ANANDA BABU DASARI, and
NOVEDEA SYSTEMS, INC. In exchange for sellers consent to transfer shares as set forth in
Stock Purchase Ayreement. RAMDHAN YADAV KOTAMARAJA, ANANDA BABU
DASARI, and NOVEDEA SYSTEMS, INC.., collectively and respectively, discharges SRIHARI
GOVINDARAJAN and his past, present, and future employers, employees, Tailim Song, the
Yailim Song Law Firm, attorneys, stockholders, officers, directors, partners, agents, brokers,
contractors,    servants.    affiliates, subsidiaries, parcnts,departments, divisions, insurers,
predecessors,   successors   andassigns (collectively the “Relcased Parties”) from all claims and
 causes of action related to the dispute in and/or
                                                     underlying the Lawsult and temporary injunction
 {captioned as Ramadhan   Yadav Kotamaraja and ANANDA Babu Dasari intellisee Group., Ine.,
                                                                              v.
 Srihari Govindarajan, Suresh Rajappa, currently pending in the 68 Judicial District Court of
 Dallas County, Texas as cause number DC-12-00995) and releases and discharges each
                                                                                         of them,
jointly and severally, from any and all potential claims or counterclaims, contracts. causes of
action, remedies, damages, liabilities, debts, suits, demands, actions, costs, expenses, fees.
controverstes, set-offs, third party actions ar proceedings of whatever kind or nature, criminally
or civilly, whether at law, cquity, administrative, arbitration or otherwise, whether known or




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  unknown. foreseen     or   unforeseen, accrued or unaccrued, suspected or unsuspected,
 which RAMDIIAN YADAY KOTAMARAJA, ANANDA BABU
                                                                        DASARI, and NOVEDEA
 SYSTEMS, INC.. may now have or has ever had against any and each of the Released Parties.
 from the beginning of the world to the date of this
 On facts or events
                                                       Agrocment, or may have in the future based
                    occurring prior to the date of this Agreement, without exception or limitation,
 including but not limited to those claims               arising
                                                    from or              relating
 and temporary injunction or any other claims or causes ofaction which dispute
                                                                    to the         and the Lawsuit
                                                                           were or could haye been
 brought in the Lawsuit.
    3. Jmmigration. SRIHARI GOVINDARAJAN Warrants that
                                                                     no immigration/visa (HIB,
 PERM. I-140 and    cancellations are initiated by him on behaif of NOVEDEA SYSTEMS. INC
 and SRIHAR[ GOVINDARAJAN has no
                                                            knowledge
                                                       of any such actions conducted
 management of NOVEDEA SYSTEMS, INC which would affect ANANDA BA BU DASARI by
                                                                                           the


        4. No Release of Claims for Breach of This Agreement,
 language    in this Agreement, nothing herein shail be deemed a release of             Notwithstanding      any other
 this   Agreement.                                                          any                    rights   created by


       Authority, Each Party represents that he, she, or it has the
        5.
 Agreement on his, her, or its behalf or on behalf of the entity he or it isauthority
                                                                                      to enter into this
                                                                             signing on behalf of.
        6. No Prior      Conveyance.
                                  The Parties each expressly warrant that no
                                                                                 claims, demands,
 controversies, actions, contracts,
                                  causes of action. liabilities.
                                                                             damages,
                                                                         injuries,
 rights released. assigned or waived herein have been previously conveyed,losses,           or other

 transferred in any manner by such Party, respectively, whether in whole or in         assigned, or
 entily, or other third party.                                                 part, any person,
                                                                                     to


    7.       Competency.       The Parties      expressly represent and    warrant      that each is   competent   and
authorized, respectively, to         execute    this   Agreement.
    & Not        a   Mere Recital. This      Agreement
                                                is contractual, not a mere recital, and ts a full and
tinal settlement of the          expressed
                               matters     herein and is binding on all spouses, family members,
affiliates, owners, predecessors, successors and/or assigns of each
                                                                    party.
    9. No Admission of             Liability.
                                       This Agreement is a compromise of doubtful and
claims in order to avoid the further trouble and                                                             disputed
                                                 expense of               litigation.
                                                                    and shall not be construed
as an admission of
                           liability by
                               any         Party.
    10.      Integration    Clause, This       Agreement      contains the entire   understanding       between and
among the Parties concerning the matters set forth herein. There are no
warranties, agreements, promises, understandings or arrangements. oral or     representations,
                                                                          wrillen, express or
impited. between and                     relaiing to the subject matter of this Agrecment except
                              among the Parties
those set forth herein. This     Agrcement Supersedes all previous represcntations, warranties,
agrecments, promises, understandings or arrangements, oral or written, relating to its
matter, a]! of which are cancelled.                                                      subjcct



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      1J. Amendment of         Agreement.          This    Agreement    may be amended            only by    written
agreement signed by the Parties, and a breach of this Agreement may be waived only by written
waiver signed by the party granting the waiver. The waiver of any breach of this Agreement
shall not operate or be construed as a waiver of any similar or prior or subsequent breach of this
Agrecment.
  12, Jurisdiction,   Choice of Law.           The             rights
                                                             and            obligations
                                                                              between SRIHARI
GOVINDARAJAN,         MANJULA DASYAM, RAMBHAN YADAV KOTAMARAJA,
ANANDA BABU DASARI, and NOVEDEA SYSTEMS, INC. hercunder shall be construed and
enforced with, and governed          by,
                                  the laws of the State of Texas. The Parties agree that the Dallas
County Courts have jurisdiction over both subject matter and         personal,    for purposes of
enforcement and   interpretation of this Agreement between the Partics, and waive theirrights    to
have disputes arisingout of this Agreement adjudicated in any other forum.

    13. Partial Invalidity. [n the event any portion of this Agreement is deemed unenforceable,
void, voidable. or of no force and effect, no other portion will be thercby affected, and the
remainder of this      Agreement will continue in full force and effect.
     14, Confidentiality. For the purposes of this section. “Party” shall include a Party’s
affiliates, agents and allorneys. Each Party shall not disclose this Agreement, its contents, or its
terms      any third-parties: provided, however, that cach Party may disclose this Agreement, its
contents, and/or its terms to tls counsel, to its insurers, lenders, bankers, accountants, and tax
advisors solely to the extent as required by law or unless ordered to do so by a court of
competent jurisdiction.
    15. Adequate Consideration. Each of the Parties represents and warrants that each has
reccived adequate consideration for their respective representations, watrantics, releases, and
agreements heretn.
    16. No Construction Against Either Party. This Agreement has becn prepared by the joint
efforts of the Parties, and each of the Parties hereto acknowledges that they have read the
Agreement, and that the Agreement expresses ihe entire agreement concerning the resolution of
the issues identified herein. The Parties agree and acknowledge that each Party has had the
opportunity to revicw this Agreement with ts own counscl. This Agreement shall not be strictly
construed against any party hercto.

    17, Further Actions. The Parties agree                 they will cach execute such other and [urther
instruments and documents or take such other               sleps as may become necessary to carry out the
intent of this Agreement.

      18.   Paragraph Headings,            Whe   paragraph headings     utilized in this    Agreement       are     for
purposes     of convenience of reference         only,   and shall not be used   to   construe,   modify,   alter   or
supplement     the   language following
                                      such         headings.
      19. Two   or   Morc  Counterparts, This Agreement may be executed simultaneously in two
or more      counterparts, by facsimile or otherwise and said counterparts together shall constitute
one   and the   same   instrument.


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         IN WITNESS WHEREGF, the Parties have executed this                  Agreement   on   the dates set
forth below, and the effective date of this Agreement shall be the last date             on   which any of
the Parties   sign the   Agreement.
                                                     Signatures--~-----—-
SRIHARI       GOVINDARAJAN,              an   individual


By: (Signature)

MANJULA DASYAM,               an   aindipdual
MEVTULA
By: (Signature)
               payers BY                 he                      as
                                                                                   r\oa\yo.
RAMDH            YADAV KOTAMARAJA,                        individual

                         at
                                                     an


                                                                             alzqlie
By Qe
                                                            |




              urc)                   )                                      Date
ANANDA BABU              DASARI, an individual
   Do
By: (Signaturc)
                          whe                   oS
                                                                              2heqlie
                                                                            Date




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                                                     Pare 4 of




                                                                                                   KATAMARAJA000029
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                ACKNOWLEDGMENT OF SRIHARI GOVINDARAJAN


THE STATE OF    [£XAS




                                             Lhe
COUNTY OF     Py /las
        BEFORE ME, the     undersigned authority,   on    this   day personally appeared         SRIHARI
GOVINDARAJAN,       an   individual, known   to me to be the     person whose     name      is subscribed to
the foregoing instrument, and acknowledged to      me   that he executed the      same     for the purposes
and considerations therein expressed.



2012.
        GIVEN UNDER MY HAND AND SEAL OF OFFICE this the                                  _ day of February,


                                                                     OIC zat
                                                          [NiuthorPublic,
                                                                 Notary   of Texas  State
My Commission Expires:
                                                          Chinstire         (GSSe.
   OFG/ OG                                                     Printed Name          of Notary



                                                                      CHRISTINA R, KOLASSA
                                                                    Moary Publ,   Stale ot Texus
                                                                          Commiss   an   Expires
                                                                      September 09,       2014




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            ACKNOWLEDGMENT OF RAMDHAN YADAV KOTAMARAJA
                          ELE         IERANIDHANYADAV KROTAMARAJA
 THE STATE Or

 county    or   Azhas




                                           UL
          BEFORE ME, the undersigned authority, on this day
 YADAV KOTAMARAJA, an individual, known to me to be the
                                                            personally appeared RAMDHAN
                                                                      person whose name is
 subscribed to theforegoing                acknowledged
                              instrument, and            to me that he executed the same for
 the purposes and considerations therein expressed.


         GIVEN UNDER MY HAND AND SEAL OF OFFICE this the
 2012.                                                                      day of February,


                                                    Aull
                                                      Notary
                                                                         Cofpuan
                                                                            Texas
                                                                Public, State of
 My Commission Expires:
                                                    Mele              Cotempd,
(tpNil. Ad                                                 Printed Name of Notary




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                   ACKNOWLEDGMENT OF ANANDA BABU DASARI


 THE STATE OF      SAyas



                                                      LK
                                                     MP
                            =
                        4
 COUNTY OF


          BEFORE ME, the        undersigned authority, on              this   day personaily appeared   ANANDA
 BABU    DASARI,   an     individual], known   to   me     to be the   person whose     name   is subscribed to the
 foregoing instrument, and acknowledged to me that he executed the same                      for the purposes and
 considerations thercinexpressed.

 2012,
         GTVEN UNDER MY HAND AND SEAL OF OFFICE this the
                                                                                         Aye day      of February,




                                                                              Notary Public, State of Texas
M
    CommissionExpires:                                           We           LA           CnlEMA
           A AOLA                                                               Printed Name of Notary




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                  ACKNOWLEDGMENT OF NOVEDEA SYSTEMS, INC.

THE STATE OF TEXAS                          §
                                            §
COUNTY OF                                  §

        BEFORE,    ME, the  undersigned authority, on this day personally
                  arn
                                                                        ~




appeared cname          Nota
NOVEDEA SYSTEMS, INC., a asa
                                                .
                                                             Whtatcent”
                                                acting as (litle)
                                  corporation, known to me to be the person whose name is
                                                                                            of

subscribed to the foregoing instrument, and acknowledged to me that he executed the same for
the purposes and considerations therein expressed.


2012.
        GIVEN UNDER MY HAND AND SEAL OF OFFICE this the
                                                                       ay     day of February,



                                                           Notary Public, State of Texas
My Commission Expires:
                                                         uA       &.    Cocenp!
[lyul. 4           AO A
                                                    We
                                                             Printed Name of Notary




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